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                                                                  CEU.    3 COURT
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                     UNITED STATES DISTRICT COPRT                           JgN j7 2219
                     WESTERN DISTRICT 0F VIRGINIA
                                                   ,
                                                                   .J        .
                                                                                 c        c
Sherry Xodriguez,                                                      .             cu
                 Plaintiff,
                                                                                 '
                                                                       ..




         V.                                                 Case No . j
                                                                      -
                                                                      ,5:19cv00048
                                                                          ,




Warden John X. Woodson, Sgt. Benjamin
J. Lokey, C.O. Ryder, C.O. Head, C.O.
Hate, and Other John qnd Jane Doe Aug-
usta Correctional Center (ACC) and VA.
DOC Officials, and Craigsville, Augusta
County, Virginia Law Enforcement Officials,
                                           Defendants.

          CIVIL XICHTS COMPLAINT PPRSUANT TO 42 U.S.C. 91983

   N0V COMES the above naned Plaintiff, and as causes of actiön against the
above named Defendants, pleads èhe following:

                              NATURE OF THE CASE

   (1)liis action is brought forth by th'
                                        e Plaintiff pursuant to 42 U.S.C.
j1983, alleging that Defendants have violated her First and Fourth Amendment
Rights to the E.S. Constitution, for which she seeks declaratory, injuncyive,
                                                       ,
                                                        '


compensatory, and punitive relief.
                                    JURISDICTION

   (2)The Courthas original jurisdiction over this action under 28 U.S.C.
j1331.
                                       VENUE

   (3) The Court has venue over this case under 28 U.S.C. j1391(b).
                                      PARTIES  .                   L

   (4) Plaintiff, Sherry Rodriguez,was at al1 relevant times a private citi-
                               j.
                                                             '



zen visiting, being searched (including strip searçhed), and/or detained at
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Augusta correctional center, 1821 Estaline Valley Rd., Craigsville, VA. 24430.
   (5) Defendants, at alt relevant times to this complaint,were as follows:
Warden John A.Woodsonj the Warden at ACC; Benjauin J.Lokey, a Sergeant at
ACC; C.O.Ryder, a female Correctional Officer (C.0.) at ACC; C.O. Head, a
female C.O. at ACC; C.O. Hale, a female C.O. at ACC; and Other J6bn and Jane
Doe ACC Staff apd craigsville, Augusta county, Virginia Law Enforcement Offic-
ials/patrolmen.
   (5)(a) Defendants acted under color of state 1aw and are being sued in their
individual and official capacities.

                                      FACTS

   (6) The Augusta correctional center (Acc herinafter) is one of many prisons
of the Virginia Department of Corrections   (DOC hereinafter) which permits priv-
ate citizens to visit their loved ones inçarcerated therein.

   (7)The Doc,and Acc in particular,permits b0th     physièal contact visits

(Hcontact visits''hereiùàfter) and non-physical visits (''no-contact visits''
              ..ontact;W sits''are those in which the prisoner and his visitor
hereinafter). Hc
are permitted to sit across from each other) with no physicat barriers, and embracq
one another at the beginning and end of the visit, uhile NXo-contact Visits'f are
those in which the prisoner and his visitor are not permitted any physical cont-

aot and Which are conducted with physical barriers (i.e. partitions and/or had
via video monitors).
   (8) Plaintiff sherry Rodriguez.tRodriguez hereinafter) has:visited her fiancej
Jawawn Zale, a2 ACC each Weekend and holiday from Febuary 2017 to February 2014,
with little exception; those exceptions being when her right to visit was denied
and/or' suspendedj and the less than 10 times she did not arrive to visit for other
reasons. Jawawn Hale. VA. D0C #1018960, is a prisoner at ACC, and was at aL1 times
relevant to this complaint.
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         (9)The DOc hashad,and believes it still has,a problem with contraband,
    drugs and cell phones in particular, entering its prisons via its own staff

    members,visitors (of prisoners, or for other reasons), and'the mail.
         (10) In light of the gboke, supra (9), the D0C has taken steps to.limity,if
    not elimlnate, the amount of contraband that enters its prispns by: (i) requir-
    ing , its stgff members and visitors to have their bodies electronically scanned;

    (ii) not allowing prisoners t6 receive the actual personal mail that is sent to
    them, but only photcopies thereof, unless its legal.mail (of which only the
                                             .


        k.
    origihal envelope is withheld, and a photocbpy thereof is provided instead); and
    (iii) limiting the number of personal visits a prisoner has; among other thingy.
         (11)The DOc belieèes that the greater the number of visits a prisoner has
'



'
    the greater the opportunity and risk for that prisoner to smuggle in contraband.
                           .                                        k

         (12) Some ACC staff members,and DefendantLokey in particular,have had a
    problem with the numbàr of visits Rodriguez was having with her fiance Jawawn
    Hale lHale hereinafter);and,because of that,suspected she was bringing contr-
    aband into ïcc.
    .
         (13) Each visit R8driguez had with Hale at ACC was within the liyits of, and
             '
                       ,



    in accordance wlth retuirements ofj fhe Xcc's and D0C's vtsiting pblicy; and, they
    were' never granted a greater number of visits than the ACC'S and Docîs visith
    ing policy allowed.

         (14) ûn or about 3-26-17, Rodriguez arrived at ACC to visit Hale, but was met
    by Sgt. Lokey and other ACC staff and told that she needed to answer some quest-

    ions first; i.e., to be tnterrogated.
             (15) The questioning of Rodriguez, supra (14), lasted approximately 6 hours,
        during which she was not permitted to'leave. She was told that if she refused to

        talk to them (i.e., Sgt. Lokey, and other John and Jane Doe officials) she would
        be ar/ested; and, that if she did tatk to thqm it would look good for her before
        the Commonyealth.
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   (16) During this questioniug/interrogatkon of aodriguez,supra (14)-(15),
Defendant Lokey and'the other John and Jane Doe Officiàls accused her of bring-
ing drugs into the prlson.
   (17)Although Rodriguez told them, supra (16),she had never brought drugs
into the prison, and would ùot do so, she was required to submit to a strip
search.

   (18) During this stri/ search of Rodriguez, supra (17),she washumiliated;
she was told to remove all of her clothing, was told to bend over, squat and
coùgh, and during which the female staff members conducting it engaged in laughter.

   (19) No drugs were found nn Rodriguez at that time, supra (18), and nor have
any ever been found on her, or Hale, during any of her visits at ACC; and nor
        '
    ,
have any drugs eve: been found on her during any visit at any other D0C facility.

   (20) Rodriguez has 'only been found to have her prescription blood pressure
medication inside her car in the parking 1ot of ACC, which is pèrmitted.
   (21)After the above,supra (14)-(19),Rodrijuèzwas not allowed to visit .
Hale, and her visiting privileges Were suspended until June 2017.
   (22)Moreover,during the aforementioned interrogation and strip search, supra
(14)-(19), Defendant Ldkey told Rodriguez that Hale was cheating on her, talking
to a1l kinds of other women and engaging in phone'sex with them, claiming that
                                               '
        g

ACC had the recorded phone conversatsons to prove it.

   (23) Defendant Lokey told îodriguez those things, supra (22),in order to
cause her mental and emotional distress and deter her from continuing to visit
Hale3 and it did cause her to suffer a mental and emotional
                                                        .
                                                            Sreakdown.

   (24) Defendant Lokey also told other visitors, of whom Rodriguez had grown
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to know and develope friendships and support networks withj that she was bring-
                                    .



ing drugs into the prison and that it would be wise for them to stay away from
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her; andj as a result, nearly al1 of them stopped talking toeher, refused to
even acknowledge her, resulting in her loss of téeir friendship and yupport

network.
   (25) Starting on 3-26-17, to 2-2-19, Rodriguez was subjected to no less than
'10 strz
       ;p searc
             ' hes by àCC staff', ordered by Defe
                                              ' ndant Lokey? conducted by Defen-

dants Rydqr, Head, and Hale, and condoned by Defendant Woodson.
   (26) The strip searches, supra (25), consisted of b0th full body stripasear-
ches and searches of Rodriguez's upper body, namely her breasts.

   (27) During those strip searches, supra (25)-(26), she was repeatedly told
that she had something in her breasts, a lump, so often that she feared she

had breast cancer, was terrified of the idea, to the point that she underwent
an ihtrusive exam only to be informed that she did not have any such lump or
breast cancer .

   (28) In additio: to the strip searches, supra (25)-(27), Rodriguez was re-
quired to have her car searched in the ACC parking lqt by Defendant Lokey and
other Acc staff, and other John and Jane Doe Law enforcement officials, patrol-
men, at least three times, during which she was not allowed to léave the park,
ing lot.

   (29) During those searches of her car, supra (28)jnothing was found that ACC
staff objected to other than Rodriguez's blood pressure medication; and, she'had
ùer visit d'
           enied that day (7-28-18) on that basis.
   (30) A vlsitor to ACC is pçrmltted to have their necessary prescrlption med-
ication left ln their car whlle they vlslt thelr loved ones; and, moreover, Rod-
riguez's blopd pressure medication, whioh was secured in her çar, posed no threat

to ACC, its staff members, or prisoner, to warrant her being denied to visit.

   (3ll'Rodriguez lives in Roanoke, VA., and tt takes her     hours for her to
make it to ACC    through mountain terrain, in Craigsville, VA. When she arrives

there, only to have her visits deniedy is very distressing for herj and very


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straining on her and Hale,'s relationship.

   (32) dn 2-2-19,Rodriguez arkived at ACC to visit Hale, only to be told that
not only was her visit for'that day deùiedj but that she was banned from visit-
ing ACC indefinitely. Defendant Lokey delivered her the news, and further added
''If you play around in mud, youfre gonna get dirty.''

   (33) Rodriguez has written to Defendant Woodson co:plaining to him, in detail,
of the abuses that she and oyier visitors have had to endure at ACC Just to vis-
it their loved ones, namely the routine strip and car searçhes and stopsy and
being interrogated, intimidated, and forced to submit to these abuses or be de-
nied the opportunity to visit', and Defendant Woodson has failed to take any

action to stop the abuses.
        Rodriguez has written to Defendant Woodson at least three diffe<ent times,
and has done so by certifted mail on'at least two of those occasions, the mosE
recent of whlch was May 2019, calling on h1m f6r the final time to take som'e form
Uf action to address and put an end to the aforesaid abuses, and citing to him
the U.8. Constitutlonal Anendments being violated, along with case 1aw in supp-
                                                         '                           '
           .                .                                    .



ort, al1 of which Defendant Woodson has tuyned a blind eye to? ignored, and,
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                                    .
doing soj condoned the actions of h1s ACC staff towards Rodrlguez, which @re
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                                              .   .

actions of AcC staff that constitute ACC's adopted practices and policies.
   (35) At ùô timq when Rodriguez was stopped, searchedj strip s'earched, seized,
interrogated, humiliatgd, slandered, and/or defamed, did Defcndants have any
               e'       '                                            j
                                .

probable cause to do so, norsreasbnable suspicibn to do so.                              '
                                        . .                                      '           ,
                    .                                                .

   (36) Thoje acts were commltted agatnst Rodrlguez, supra (14)-(35), in order
to deter her from exèrcising her right to associaye and converse with her fiance

Hale, and was in ketaliation for her having done so, aud exercising not only
her lawful right to do so, but privilege to do sp according to the ACC'S and

Doc's written visiting policy..
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   (37) As a proximate result of the aforementioned actions and/or omissions
of Defendants, supra (14)-(36), Rodriguez has sufferqd, and continùcssto suffer,
extreme emotional and mental distresà, humiliation, defamation, loss of compan-
ionship, friendsiip, support,goöd standing in the community,and other irrepa-
rable hayms, includiàg .an extreme fear a'ndt
                                            it
                                             paranoia of law enforcement officials.

                             CAUSES 0F ACTION
   (38) The aforèmentioned actions and/or omissions of Defendants, supra (14)-
(36), constitute the following causes of action:
            Violations of the First Amèndment to the U.S. Constitution! which
            pbohibited their Retaliation against Rodrlguez for exercising her
            Right.to Associate and Communicate with her Fiance Hale; and
                                                 '
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        (ii) Violations of the Fourth Amendment to the U.S. Constitution, which
             prohibited their illêgal searches and sèizures of Rodriguez and
             her belongingà, and the e
                                     false imprisonment of her.

                             JURY TR IAL DEMAHD

   (39) Rodriguez demands a trial by jury.
                               RELIEF SOUGHT

   (40) Rodriguez requests thç following relief as a result.of the injury and
harm she's suffered at the iynds of Defendants' actions and/or omissionssas
pleaded aböve, supra (14)-(37):
        (i) Declaratory Relief, declaring each Defendant to have violated her
            First and Fourth Amendment Rights to the U.S. Constitution;

        (ii) Injunctive Relief, enjoining Deféndants to end their abùsive and
             unlawful practices, as pleaded above, to restore her visiting pri-
             vileges at ACC, and/or transfer Hale to a facility where she will
             be permitted to visit him without fear of further abuse, retaliat-
             ion and/or harassmept;
        (iii) compensatory Damages in the amount of $250,000;
        (iv) Punitive Damages in the amount of $250,000; and
        (v) A11 other costs and fees incurred as a result of Rodriguez bringing
            forth this action and having it litigatedj including attorney feesr
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